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   September 18, 2024
   BY ECF

   Honorable Harvey Bartle III, U.S.D.J.
   United States District Court for the
   Eastern District of Pennsylvania
   16614 U.S. Courthouse
   601 Market Street
   Philadelphia, Pennsylvania 19106

   Re:      Atlas Data Privacy Corp., et al v. Data Axle, Inc (No. 1:24-cv-4181)

   Dear Judge Bartle:

           This firm represents the defendant Data Axle, Inc. (“Defendant”) in the above-referenced matter.
   We write to advise the Court that Defendant joined the Consolidated Brief in Opposition to Plaintiffs’
   Consolidated Motion for Remand, filed in the action captioned as Atlas Data Privacy Corporation et al v.
   Blackbaud, Inc., et al., Civil Action No. 1:24-cv-03993-HB. For the reasons set forth therein, Defendant
   respectfully requests that the Court deny Plaintiff’s Motion for Remand.

           Further, the Defendant joined the Reply Brief submitted in support of Defendant’s Consolidated
   Motion to Dismiss, filed with the same matter. For the reasons set forth therein, Defendant respectfully
   request that the Court grant Defendants’ Motion.

   Respectfully submitted,

   /s/Timothy M. Jabbour

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